                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ALABAMA
                                            WESTERN DIVISION

IN RE:                                                   *
                                                         *
SOUTHFRESH AQUACULTURE, LLC                              *            19-70152-JHH-11
                                                         *
                                         DEBTOR.         *
                                                         *

                        UNITED STATES BANKRUPTCY ADMINISTRATOR’S
              LIMITED OBJECTION TO DEBTOR’S MOTION FOR ADMINISTRATIVE ORDER
                    ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS
         Comes now the United States Bankruptcy Administrator for the Northern District of Alabama ("BA"),

by and through the undersigned counsel of record, and hereby files this limited objection to the Debtor’s

Motion for Administrative Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses of Professionals (court document #138) and as grounds therefore states as follows:

         1.        This case was filed on January 28, 2019.

         2.        Pending before the Court is the Debtor’s Motion for Administrative Order Establishing

                   Procedures for Interim Compensation and Reimbursement of Expenses of Professionals

                   (court document #138) (“Motion”).

         3.        The BA has no objection to the procedures for interim compensation and reimbursement of

                   expenses as set forth in the Debtor’s Motion, except that the BA requests that any order

                   entered with respect to such Motion include a provision that the BA reserves that right to

                   object to any compensation and reimbursement sought on a final basis regardless of whether

                   or not the BA has objected to any payment of compensation and reimbursement of expenses

                   on a monthly or any other interim basis and that all compensation and reimbursement of

                   expenses shall be subject to final Court approval at the hearing on all final fee applications.

         Respectfully submitted March 27, 2019.
                                                              J. THOMAS CORBETT
                                                              BANKRUPTCY ADMINISTRATOR FOR THE
                                                              NORTHERN DISTRICT OF ALABAMA
                                                              BY: /s/ Rachel L. Webber
                                                                 Rachel L. Webber
                                                                 Assistant U.S. Bankruptcy Administrator

OF COUNSEL:
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Northern District of Alabama
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                                              CERTIFICATE OF SERVICE
           This is to certify that on March 27, 2019 I have served a copy of the foregoing Limited Objection on the parties
listed below by depositing the same in the United States Mail, postage prepaid and properly addressed, or if the party
being served is a registered participant in the CM/ECF System for the United States Bankruptcy Court for the Northern
District of Alabama, service has been made by a “Notice of Electronic Filing” pursuant to FRBP 9036 in accordance with
subparagraph II.B.4 of the Court’s Administrative Procedures.

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